Fill in this information to identify the case

Debtor 1 Elizabeth Caymares
Debtor 2
(Spouse, if filing)
United States Bankruptcy Court for the: MIDDLE District of PENNSYLVANIA
                                                                                    (State)
Case number 23-02305


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                              12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security
interest in the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred
after the bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:       Guild Mortgage Company LLC                              Court claim no. (if known):   6




Last four digits of any number you use to       8477
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
                      No
                      Yes. Date of the last notice: 2/12/2024

Part 1:         Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount
indicate that amount in parentheses after the date the amount was incurred.

      Description                                                       Dates incurred                               Amount

1.    Late charges                                                                                            (1)    $

2.    Non-sufficient funds (NSF) fees                                                                         (2)    $

3.    Attorney's fees                                                                                         (3)    $

           Second Objection to plan                                     4/18/2024                                    $             500.00

           Review of first amended plan                                 3/12/2024                                    $             225.00

           Review of second amended plan                                3/19/2024                                    $             225.00

           Review of third amended plan                                 3/21/2024                                    $             225.00

           Post petition fee notice                                     5/13/2024                                    $             150.00

4.    Filing fees and court costs                                                                             (4)    $

5.    Bankruptcy/Proof of claim fees                                                                          (5)    $

6.    Appraisal/Broker's price opinion fees                                                                   (6)    $

7.    Property inspection fees                                                                                (7)    $

8.    Tax advances (non-escrow)                                                                               (8)    $

9.    Insurance advances (non-escrow)                                                                         (9)    $

10.   Property preservation expenses. Specify: _______                                                        (10)   $


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11.   Other. Specify: _____________________________                                                           (11)   $

12.   Other. Specify: _____________________________                                                           (12)   $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5)
and Bankruptcy Rule 3002.1.




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Debtor 1         Elizabeth Caymares                                            Case number (if known) 23-02305
            First Name                      Middle Name         Last Name


Part 2:           Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.
I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.

     /s/Alyk L. Oflazian                                                                      06/10/2024
X                                                                                   Date
     Signature

Print:                     Alyk L. Oflazian                                           Title   Attorneys for Creditor
Title                      Attorneys for Creditor
Company                    Manley Deas Kochalski LLC
Address                    P.O. Box 165028
                         Number             Street
                           Columbus, OH 43216-5028
                         City                      State          ZIP Code
Contact phone             614-220-5611                                              Email      amps@manleydeas.com




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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 23-02305
Elizabeth Caymares                   : Chapter 13
                                     : Judge Mark J. Conway
                           Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                     :
Guild Mortgage Company LLC           : Related Document #
                            Movant, :
       vs                            :
                                     :
Elizabeth Caymares                   :
Jack N Zaharopoulos                  :
                        Respondents. :
                                     :
                                CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Notice of Postpetition

Mortgage Fees, Expenses, and Charges was filed electronically. Notice of this filing will be sent

to the following parties through the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Jack N Zaharopoulos, Chapter 13 Trustee, info@pamd13trustee.com

   Michael A. Cibik, Attorney for Elizabeth Caymares, help@cibiklaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Elizabeth Caymares, 137 Dad Burnhams Rd, Pine Grove, PA 17963-8388

                                                       /s/Alyk L. Oflazian




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